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IN THE UNITED STATES DISTRICT COURT ”&DBL"'

FOR THE WESTERN DISTRICT OF TENNESSEE

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vs mm

DFTN,

 

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20420-Ml

KEITH BRYANT

Defendant.

v~_..¢~...¢~..z-._r~._/-._r\-._r\._,¢~_/\._/

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on July 22, 2005, the United States
Attorney for this district, Lcrraine Craig, appearing for the Government and
the defendant, Keith Bryant, appearing in person and with counsel, Handel
Durham, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l, 2, 3 and 4 Of
the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for MONDAY, OCTOBER 17, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the _é¢'_?~day of July, 2005.

°..Q m°OM».

JO PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

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This document entered on the docket sheet in
wlth Rule 55 and/or 32(b) FFlCrP on

 

ISTRICT COURT - WEERST DISTRICT TNNESSEE

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U.S. ATTORNEY'S OFFICE
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Honorable .1 on McCalla
US DISTRICT COURT

